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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                            x
MAIROBY HERNANDEZ, Individually, and :
On Behalf of All Others Similarly Situated, :
                                            : Case No.: 1:22-cv-05598
                             Plaintiff,     :
      vs.                                   :
                                            :
                                            : NOTICE OF VOLUNTARY DISMISSAL
                                            :
WINE CHIPS, INC.,
                                            :
                                            :
                             Defendant.
                                            :
                                            :
                                            x


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Mairoby Hernandez hereby gives notice

that the above-captioned action is voluntarily dismissed, without prejudice, against defendant

Wine Chips, Inc.



DATED: September 19, 2022                   MIZRAHI KROUB LLP


                                                            /s/ Edward Y. Kroub
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